4:06-cr-03023-RGK-DLP       Doc # 200    Filed: 06/15/10   Page 1 of 6 - Page ID # 1675




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )
                                         )
                     Plaintiff,          )                 4:06CR3023-3
                                         )
               v.                        )
                                         )
SHAWN TULL,                              )       MEMORANDUM AND ORDER
                                         )
                     Defendant.          )
                                         )


      This matter is before me for initial review1 of Shawn Tull’s Motion to Vacate
under 28 U.S.C. § 2255. (Filing 195.) Because it plainly appears from the files and
records that he is not entitled to relief, I will deny and dismiss the motion.

        Tull claims his lawyer was ineffective because his lawyer failed to advise him
of his right to consular notification and because counsel failed to pursue a remedy for




      1
          When a § 2255 motion is forwarded to a judge,

      [t]he judge who receives the motion must promptly examine it. If it
      plainly appears from the motion, any attached exhibits, and the record of
      prior proceedings that the moving party is not entitled to relief, the judge
      must dismiss the motion and direct the clerk to notify the moving party.
      If the motion is not dismissed, the judge must order the United States
      Attorney to file an answer, motion, or other response within a fixed time,
      or to take other action the judge may order.

Rule 4(b) of the Rules Governing Section 2255 Proceedings for the United States
District Courts.
4:06-cr-03023-RGK-DLP      Doc # 200     Filed: 06/15/10   Page 2 of 6 - Page ID # 1676




violation of the right to consular notification.2 Tull also claims that he is entitled to
compensatory, nominal and punitive damages for the alleged violation of his right to
consular notification.

       As to his claim of ineffective assistance of counsel, it is apparent that Tull
suffered no prejudice (assuming the highly dubious proposition that counsel’s
performance was deficient). As for the damage claim, it is enough to state, without
further discussion, that section 2255 provides no such remedy. A brief explanation
of my reasoning regarding the “ineffective assistance of counsel” claim follows.

       The presentence report (PSR, filing 161) established that Tull was born in
Guyana.3 (PSR ¶ 55.) By the time this case began, Tull had lived in the United
States for twenty years and was a permanent resident alien. (Id.) I assume without
deciding that Tull was not given the consular notification required by the Vienna
Convention and American law. I also assume, again without deciding, that Tull’s
counsel did not discuss this matter with him and that counsel sought no remedy for
such a violation.



      2
        See Article 36 of the Vienna Convention on Consular Relations (Vienna
Convention), April 24, 1963, 21 U.S.T. 77, 596 U.N.T.S. 261 (generally providing
that a foreign national’s arrest or imprisonment requires a signatory state to advise the
foreign national’s consular post of such arrest or imprisonment). See also 28 C.F.R.
§ 50.5(a)(1) (“In every case in which a foreign national is arrested, the arresting
officer shall inform the foreign national that his consul will be advised of his arrest
unless he does not wish such notification to be given.”).
      3
        Guyana is apparently a signatory to the Vienna Convention. See Consular
Notification and Access, Part 5: Legal Materials, U.S. Department of State, Bureau
of Consular Affairs (March 31, 2010), available at
http://travel.state.gov/law/consular/consular_744.html# (“Agreements Pertaining to
Consular Functions” & table )(last accessed March 31, 2010).


                                          -2-
4:06-cr-03023-RGK-DLP       Doc # 200    Filed: 06/15/10    Page 3 of 6 - Page ID # 1677




       Tull, along with several others, was arrested on Interstate 80 when two vehicles
were stopped and searched and a large load of marijuana was found and seized. Tull
was charged, along with others, with possession of a controlled substance with the
intent to distribute it and, after a short detention, Tull was released pending trial. He
remained released throughout trial.

       Tull demanded a jury trial, but a jury found him guilty. After I determined that
Tull should receive an enhanced sentence for his role in the offense, he was sentenced
to 78 months in prison. He appealed and his appeal was denied. Through trial, Tull
was represented by Michael Hansen, a very experienced Federal Public Defender.
After trial, Tull retained Carlos Monzon, another very experienced lawyer, to
represent him at sentencing and on appeal.4

       It is Hansen’s alleged failure to tell Tull about the consular notification
requirement and Hansen’s alleged failure to seek a remedy for the asserted violation
of that right that forms the basis for Tull’s claim. Tull barely makes any assertion of
prejudice. For example, Tull amorphously concludes that the failure to give consular
notification denied him a “‘[c]ultural bridge’ between the foreign detainee and the
legal machinery of the receiving state.” (Filing 195 at CM/ECF p. 6.)

       In order to prevail on a claim that defense counsel rendered ineffective
assistance of counsel, Tull must establish two things. Those things are (1) that


      4
        The consular notification issue was not raised at trial and, so far as I can tell,
the consular notification issue was not raised on direct appeal. This may have
resulted in a procedural default of the issue. See, e.g., United States v. Gaona-Lopez,
2007 WL 1290129 * 2 (D. Neb. 2007) (denying a 2255 motion and finding
procedural default where consular notification claim was not raised at trial or on
direct appeal). But that is a tricky question particularly because it is framed here as
an ineffective assistance of counsel claim. It is more expedient to address Tull’s
claim directly.

                                           -3-
4:06-cr-03023-RGK-DLP      Doc # 200     Filed: 06/15/10   Page 4 of 6 - Page ID # 1678




“‘counsel’s representation fell below an objective standard of reasonableness,’”5 and
(2) that “‘there is a reasonable probability that, but for counsel’s unprofessional
errors, the result of the proceeding would have been different.’”6 Nguyen v. United
States, 114 F.3d 699, 703-04 (8th Cir. 1997) (quoting Strickland v. Washington, 466
U.S. 668, 688, 694 (1984)).

       An evidentiary hearing is unnecessary if the claimant makes an insufficient
preliminary showing on either or both prongs or the record clearly contradicts the
claimant’s showing on either or both prongs. Engelen v. United States, 68 F.3d 238,
240 (8th Cir. 1995) (affirming denial of § 2255 motion without a hearing in the face
of an ineffective assistance of counsel claim; stating that no evidentiary hearing is
required where “(1) the petitioner’s allegations, accepted as true, would not entitle the
petitioner to relief, or (2) the allegations cannot be accepted as true because they are
contradicted by the record, inherently incredible, or conclusions rather than
statements of fact.”).

       Simply put, Tull has wholly failed to show that he was harmed by Hansen’s
alleged failure to advise Tull about, or to take action regarding, the consular
notification requirement. Therefore, Tull’s section 2255 motion must be dismissed.
See, e.g., United States v. Castillo, 2007 WL 4591928 * 4 (D. Minn. 2007) (denying
certificate of appealability regarding the denial of a § 2255 motion where


      5
       A judge’s “scrutiny of counsel’s performance must be highly deferential” and
the judge must “indulge a strong presumption that counsel’s conduct falls within the
range of reasonable professional assistance.” Reed v. United States, 106 F.3d 231,
236 (8th Cir. 1997).
      6
       A “reasonable probability” is less than “more likely than not,” Kyles v.
Whitley, 514 U.S. 419, 434 (1995), but it is more than a possibility. White v. Roper,
416 F.3d 728, 732 (8th Cir. 2005). It must be compelling enough to “undermine
confidence in the outcome.” Strickland, 466 U.S. at 694.


                                          -4-
4:06-cr-03023-RGK-DLP      Doc # 200     Filed: 06/15/10   Page 5 of 6 - Page ID # 1679




“petitioner’s asserted prejudice is purely speculative”; petitioner claimed that his
counsel should have notified the Dominican Republic’s consulate); Gomez v. United
States, 100 F. Supp.2d 1038, 1049 & n. 9 (D. S.D. 2000) (denying § 2255 motion
regarding ineffective assistance of counsel claim; stating: “In the instant case, no
showing of prejudice whatsoever has been made. Gomez does not explain how
consultation with the El Salvadoran consulate would have changed the actions he
took or altered the outcome of the case in any manner. Gomez's assertions of
prejudice are speculative and trumped by the evidence of record and applicable
precedent. Finally, had consular notification been given, Gomez would have been
able to talk to someone who could do no more (and probably far less) to protect his
rights than trial counsel. Therefore, because Gomez has failed to show that he was
in any way prejudiced by the alleged Vienna Convention violation, his claim has no
merit and must fail.”)7

       Let me briefly amplify the foregoing. First, a violation of the Vienna
Convention does not normally warrant the remedy of suppression. Sanchez-Llamas
v. Oregon, 548 U.S. 331, 349-350 (2006) (Suppression would be a vastly
disproportionate remedy for an Article 36 violation. The interests of a defendant in
Article 36 are effectively protected by other constitutional and statutory requirements,
including the right to an attorney and to protection against compelled
self-incrimination) Secondly, Tull has failed to point to anything concrete that
Hansen could have done (by way of suppression or otherwise) regarding the consular

      7
        Tull relies upon Jogi v. Voges, 480 F.3d 822 (7th Cir. 2007) (district court had
subject matter jurisdiction on a tort claim brought by a citizen of India asserting that
county law enforcement officials violated the Vienna Convention’s consular
notification provisions). Joji has nothing to do with 2255 motions and there is not
the slightest suggestion in the Seventh Circuit’s opinion that a violation of the Vienna
Convention would warrant setting aside a federal criminal conviction. On the
contrary, the Seventh Circuit explicitly distinguished tort cases from criminal and
habeas corpus cases like this one. Id. at 831-832.


                                          -5-
4:06-cr-03023-RGK-DLP      Doc # 200    Filed: 06/15/10   Page 6 of 6 - Page ID # 1680




notification issue that would have made a difference to Tull’s conviction or his
sentence. Finally, given the fact that Tull lived in the United States for 20 years and
was a permanent resident alien, it would be absurd to believe that Tull was in need
of the “cultural bridge” that the consulate allegedly would have extended to Tull by
providing an explanation of the American legal system.

      IT IS ORDERED that:

      1.     The motion (filing 197) to proceed in forma pauperis is granted.

      2.     The section 2255 motion (filing 195) is denied with prejudice.

      3.     A separate judgment will be issued.


      DATED this 15th day of June, 2010.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        United States District Judge




                                         -6-
